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                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

                                               :
    LISA M. FOLAJTAR,                          :
                              Plaintiff,       :
                                               :
                         v.                    :                 No. 5:18-cv-02717
                                               :
    WILLIAM P. BARR, 1                         :
    Attorney General of the United States;     :
    THOMAS E. BRANDON,                         :
    Acting Director, Bureau of Alcohol,        :
    Tobacco, Firearms, and Explosives; and     :
    CHRISTOPHER A. WRAY,                       :
    Director of the Federal Bureau of          :
    Investigation                              :
                             Defendants.       :
                                               :

                                             ORDER

        AND NOW, this 22nd day of February, 2019, upon consideration of Plaintiff’s
Complaint, ECF No. 1; Defendants’ Motion to Dismiss for Failure to State a Claim, ECF No. 3;
Plaintiff’s Response to Defendant’s Motion to Dismiss, ECF No. 5; Defendants’ Reply, ECF No.
6; Plaintiff’s Sur-Reply, ECF No. 9, and for the reasons set forth in the accompanying Opinion,
IT IS ORDERED that:
        1.      Defendants’ Motion to Dismiss for Failure to State a Claim, ECF No. 3, is
GRANTED;
        2.      Plaintiff’s Complaint is DISMISSED with prejudice; and
        3.      The Clerk of Court is directed to close this matter.

                                             BY THE COURT:




                                             /s/ Joseph F. Leeson, Jr.
                                             JOSEPH F. LEESON, JR.
                                             United States District Judge

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       Pursuant to Federal Rule of Civil Procedure 25(d), Attorney General Barr, as former
Acting General Whitaker’s successor, is automatically substituted as the defendant in this action.
See Fed. R. Civ. P. 25(d).

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